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                                   4                                   UNITED
                                                                            D STATES D
                                                                                     DISTRICT C
                                                                                              COURT

                                   5                                 NORTHER
                                                                           RN DISTRIC
                                                                                    CT OF CALIIFORNIA

                                   6

                                   7    NARCISO
                                        N       FU
                                                 UENTES,                                        Case No. 116-cv-020011-JSW

                                   8                    Plaintiff,
                                                                                                ORDER O
                                                                                                      OF ADMON
                                                                                                             NISHMENT
                                                                                                                    T
                                   9             v.
                                                                                                Re: Dkt. N
                                                                                                         No. 25
                                  10    DISH
                                        D    NETW
                                                WORK L.L.C.,
                                  11                    Defendant..

                                  12
Northern District of California
 United States District Court




                                  13           On May
                                                    y 23, 2016, Plaintiff
                                                                P         filed his opposiition to Defeendant’s mottion to comppel

                                  14   arb
                                         bitration. In violation off Northern District Locall Rule 7-3(a)), Plaintiff fiiled a separaate statementt

                                  15   of evidentiary
                                          e           objections.
                                                      o           In light of th
                                                                               he fact that th
                                                                                            the Court graanted a requeest for an ennlargement

                                  16   of page
                                          p    limits, the Court is not pleased
                                                                              d with Plaintiiff’s failure tto comply w
                                                                                                                     with the requiirement that

                                  17   eviidentiary objjections be contained
                                                                   c         within his oppoosition brieff. However, the Court shhall not

                                  18   striike those objjections, and
                                                                    d it will conssider them.

                                  19           ALL PARTIES AR
                                                            RE HEREB
                                                                   BY ADMON
                                                                          NISHED thaat if they faail to complyy with the

                                  20   pro
                                         ovisions of Local
                                                     L     Ruless 7-3(a) and 7-3(c) in th
                                                                                        he future reggarding evid
                                                                                                                dentiary ob
                                                                                                                          bjections,

                                  21   thee Court shalll strike any
                                                                  y evidentiarry objectionss that are n
                                                                                                      not contained in an opposition or

                                  22   rep
                                         ply brief.

                                  23           IT IS SO
                                                     S ORDER
                                                           RED.

                                  24   Daated: May 31, 2016

                                  25                                                       __________________________________________
                                                                                           JEFFFREY S. W WHITE
                                  26                                                       Unnited States D
                                                                                                          District Judgge
                                  27
                                  28
